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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

FTX TRADING LTD. et al.,1                                             Case No. 22-11068 (JTD)

                                    Debtors.                          (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX                                         Adv. Proc. Case No. 23-50444 (JTD)
TRADING LTD.,

                   Plaintiffs,

vs.
                                                                      Re: Docket Nos. 35, 72
PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                   Defendants.

           ORDER DENYING MOTION OF PLATFORM LIFE SCIENCES, INC.,
             A CANADIAN CORPORATION, TO DISMISS COMPLAINT FOR
           LACK OF PERSONAL JURISDICTION PURSUANT TO RULE 12(B)(2)

                   This matter having come before the Court upon the Motion of Platform Life

Sciences, Inc., a Canadian Corporation, to Dismiss Complaint for Lack of Personal Jurisdiction

Pursuant to Rule 12(b)(2) (the “Motion to Dismiss”) [Docket No. 35] filed on September 15,

2023, seeking to dismiss this proceeding filed by Alameda Research Ltd. and FTX Trading Ltd.,

1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063 respectively. A complete list of the Debtors and the last four digits of their federal tax identification numbers
may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial
Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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and the Court having held a hearing on November 15, 2023 on the Motion to Dismiss and any

opposition thereto, and finding good cause for the entry of the within Order it is hereby

ORDERED as follows:

                   1.           For the reasons stated in the Court’s letter ruling of December 20, 2023

[Docket No. 72], the Motion to Dismiss is denied without prejudice.

                   2.           Plaintiffs’ request for jurisdictional discovery is granted.

                   3.           The Motion to Dismiss may be renewed once jurisdictional discovery is

concluded.




          Dated: January 3rd, 2024                                 JOHN T. DORSEY
          Wilmington, Delaware                                     UNITED STATES BANKRUPTCY JUDGE



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